           Case5:15-cr-00226-EJD Document27 Filed07/09/15 Page1 of 2



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 5
     Counsel for Defendant DOUGLAS STORMS YORK
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 8                              IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                         SAN JOSE DIVISION

11

12   UNITED STATES OF AMERICA,             )              No. CR 15-00226 BLF
                                           )
13                     Plaintiff,          )              DEFENDANT DOUGLAS STORMS
                                           )              YORK’S WITNESS LIST
14                                         )
     vs.                                   )
15                                         )
                                           )              Pretrial Conference: July 16, 2015
16                                         )              Time: 2:00 p.m.
     DOUGLAS STORMS YORK,                  )
17                                         )              Trial Date: July 20, 2015
                       Defendant.          )
18   _____________________________________ )              Honorable Beth Labson Freeman

19

20           Defendant Douglas Storms York, by and through his counsel, submits this potential witness

21   list for the upcoming trial. The defense reserves the right to call additional witnesses for rebuttal

22   or impeachment of evidence presented by the government.             The defense is continuing its

23   investigation and may supplement the list below as needed.

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     Def. York’s Witness List
     CR 15-00226 BLF                                  1
         Case5:15-cr-00226-EJD Document27 Filed07/09/15 Page2 of 2



 1   The defense may call the following witnesses, depending on the presentation of the testimony

 2   and evidence during the government’s case-in-chief:

 3

 4           Douglas Storms York

 5           Douglas Cole

 6

 7

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 9   Dated: July 9, 2015                                Respectfully submitted,

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                                                        STEVEN G. KALAR
11                                                      Federal Public Defender

12
                                                        /s/
13                                                      GRAHAM ARCHER
                                                        Assistant Federal Public Defender
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     Def. York’s Witness List
     CR 15-00226 BLF                                2
